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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

Hawthorne Industrial Products, Inc.                           No.: 2:22-cv-02724-ILRL-JVM

       v.

Hanwin Shipping Limited et al.

                         NOTICE OF COLLATERAL PROCEEDINGS

       Subject to its restricted appearance under Supplemental Admiralty Rule E(8), and

according to LR 3.1 (collateral proceedings), defendant Hanwin Shipping Limited notifies the

Court and all counsel that this action involves subject matter that comprises all or a material part

of the subject matter or operative facts of another action pending in this Court: Transatlantica

Commodities Pte Ltd. v. Hanwin Shipping Limited, No. 2:22-cv-02454-EEF-JVM. The Verified

Complaint filed in this action (doc. 1) refers to the Transatlantica action in paragraphs 6 and 9,

and the two actions involve the same cargo fire aboard the same vessel (the TAC IMOLA), and

both actions involve attachments or garnishments under Supplemental Admiralty Rule B.

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                                     Certificate of Service

       I hereby certify that this document was served upon all counsel of record this 24th day of

August, 2022, via email and by operation of the Court’s CM/ECF system.

                                             s/ David B. Sharpe
                                             David B. Sharpe




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